      Case 2:19-cv-02673-NJB-DMD Document 21 Filed 04/03/19 Page 1 of 4




                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUSIANA

AMERICAN RIVER TRANSPORTATION CO.,                      CIVIL ACTION NO.: 2:19-cv-02673
LLC d/b/a ARTCO STEVEDORING                             Admiralty – Rule 9(h)

VERSUS                                                  SECTION G | DIVISION 3

M/V ORIENT RISE, her engines, tackle, apparel,          JUDGE BROWN
etc., in rem
                                                        MAGISTRATE DOUGLAS


                              COMPLAINT IN INTERVENTION

       The Complaint of Intervenor, Agri Port Services, LLC (“APS”), against Defendant, M/V

ORIENT RISE, her engines, tackle, apparel, etc., in rem, in a cause of action under 46 U.S.C. §

31342 and Rule C of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions and within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure,

avers as follows:

                                                  1.

       At all times hereinafter, Intervenor, APS, was and is now a limited liability company duly

organized under the laws of the State of Delaware with its principal place of business in the State

of Illinois, doing business within the State of Louisiana.

                                                  2.

       At all times hereinafter, Defendant, M/V ORIENT RISE (the “Vessel”), was and is now a

bulk carrier bearing IMO No. 9427342 with an overall length of 190 meters, a breadth of 32.3

meters, and flying under the flag of Panama. The vessel is or will be in the jurisdiction of the

Eastern District of Louisiana and is presently under arrest in this district.
      Case 2:19-cv-02673-NJB-DMD Document 21 Filed 04/03/19 Page 2 of 4




                                                 3.

       This is a claim, in rem, under the maritime jurisdiction of the United States and this

Honorable Court in accordance with 28 U.S.C. § 1333, Rule 9(h) of the Federal Rules of Civil

Procedure, and Rule C of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions.

                                                 4.

       APS provides agency services to foreign flag vessels calling on the ports of South

Louisiana, including those ports on the Lower Mississippi River.

                                                 5.

       APS provided agency services, including but not limited to arranging of pilots, customs

clearances, arranging for payment of port required fees, and other general agency services, to the

M/V ORIENT RISE from the time the Vessel entered the Lower Mississippi River until the Vessel

unloaded all its cargo and departed its unloading berth on March 20, 2018, all of which constitute

the provision of necessaries under the Federal Maritime Lien Act as the services were useful to the

Vessel and enabled it to performs its particular function.

                                                 6.

       APS presented an invoice and demanded payment for APS’s agency services provided to

the Vessel, but to date no payment has been made on behalf of the Vessel. The total outstanding

balance due to APS is $239,519.27.

                                                 7.

       APS has a maritime lien against the Vessel, as the damages claimed herein arise from

APS’s provision of necessaries to the Vessel pursuant to the Federal Maritime Lien Act, 46 U.S.C.

§ 31342 et seq.



                                                 2
      Case 2:19-cv-02673-NJB-DMD Document 21 Filed 04/03/19 Page 3 of 4




                                                 8.

       APS is entitled to have the Vessel seized and sold, and further to have the charges paid in

preference and priority to other claims.

       WHEREFORE, APS prays that:

       1.      A Warrant of Arrest be issued calling for the Vessel to be seized to satisfy

               Intervenor’s claims and that the Warrant of Arrest and the Verified Complaint be

               served upon the Vessel, in rem;

       2.      All persons claiming any right, title, or interest in the Vessel her engines, boilers,

               tackle, appurtenances, etc., be summoned to appear, file their claim, as owner, and

               to answer under oath all and singular the matters aforesaid, and that after due

               proceedings, said Vessel be condemned and sold to pay the demands aforesaid, with

               interest costs, and disbursements;

       3.      That the Court recognize a maritime lien for necessaries against the Vessel, in rem,

               in favor of APS in the amount of $239,519.27;

       4.      That Judgment be entered in favor of APS against the Vessel, in rem, at least in the

               amount of at least $239,519.27, with all other amounts shown at trial including,

               but not limited to interest, and that this Judgment be recognized as a priority claim

               based upon the Federal Maritime Lien Act so that it is paid in preference and

               priority to all other claims of liens including any ship mortgage(s).




                                                 3
     Case 2:19-cv-02673-NJB-DMD Document 21 Filed 04/03/19 Page 4 of 4




                                            Respectfully submitted,

                                            SALLEY, HITE, MERCER, AND RESOR, LLC

                                            /s/ Kevin M. Frey
                                            DAVID M. FLOTTE (#1364)
                                            MARCELLE P. MOULEDOUX (#30339)
                                            KEVIN M. FREY (#35133)
                                            365 Canal Street, Suite 1710
                                            New Orleans, LA 70130
                                            Tel.: (504) 566-8800
                                            Fax: (504) 566-8828
                                            dflotte@shmrlaw.com
                                            mmouledoux@shmrlaw.com
                                            kfrey@shmrlaw.com

                                            Counsel for Intervenor, Agri Port Services,
                                            LLC


PLEASE SERVE AND ARREST:

M/V ORIENT RISE, her engines, tackle, apparel, etc., in rem, with the Complaint and
Verification.




                                        4
